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                          UNITED STATES BANKRUPTCY COURT
                           SOUTHERN DISTRICT OF FLORIDA
                             FORT LAUDERDALE DIVISION

In re:

SABRINAS ATLANTIC WINDOW                              Case No. 22-18568-SMG
CLEANING AND PRESSURE                                 Chapter 11 – Lead Case
CLEANING, LLC,
                                                      Jointly Administered
RACHEL ANN EULER,                                     Case No. 22-18573-SMG

      Debtors.
________________________________/

         AGREED MOTION FOR ORDER REFERRING CONTESTED MATTER TO
              MEDIATION OR JUDICIAL SETTLEMENT CONFERENCE

         Creditor, Atlantic Window Cleaning, Inc. (“Creditor”), pursuant to Local Rule 9019-2, and

with the agreement of counsel for the Debtors, moves this Court for entry of an order assigning

this case to mediation or, alternatively, referral for a judicial settlement conference by another

judge of this Court. In support of this motion, Creditor states as follows:

         1.     This Court has scheduled a full-day evidentiary hearing for June 13, 2023 to

consider the Joint Chapter 11 Subchapter V Plan of Reorganization [D.E. 54 and D.E. 55] filed by

the above-referenced Debtors (“Joint Plan”) and the Objection to Confirmation of Joint Plan filed

by the Creditor [D.E. 103] (“Confirmation Objection”).

         2.     The deadline for objecting to confirmation was April 25, 2023 and no other

creditors have filed objections to confirmation of the Joint Plan.

         3.     Undersigned counsel for Creditor and counsel for the Debtors have conferred about

referral of the contested matter created by the Confirmation Objection to mediation and/or a

judicial settlement conference before another judge of this Court. Given the various issues related

to confirmation and the Confirmation Objection, Debtors and Creditor are in agreement that it is



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appropriate for this Court to make such a referral – preferably to another judge of this Court for a

judicial settlement conference. At this time, counsel for the Debtors is making inquiries to Judge

More, Judge Hyman and Judge Russin to determine their availability to conduct a judicial

settlement conference.

         4.    In addition to referring the contested matter involving the Confirmation Objection

to a judicial settlement conference, Creditor is filing an agreed motion seeking referral of

Creditor’s adversary proceeding filed against Debtor Rachel Euler objecting to dischargeability of

debt (Adversary Proceeding No. 23-01103-SMG) for a judicial settlement conference at the same

time because issues related to that adversary proceeding are substantially intertwined with issues

related to confirmation of the Joint Plan and the Confirmation Objection. As such, it is likely that

resolution of the adversary proceeding and vice versa.

         5.    Given the logistics of scheduling a judicial settlement conference (or, if necessary,

a conventional mediation) between now and June 13 and in an effort to avoid incurring substantial

additional expenses preparing for what will be an involved contested confirmation hearing if the

Confirmation Objection is not resolved amicably, Creditor is separately filing an agreed motion to

continue the confirmation hearing for approximately sixty (60) days. If the issues between the

parties are not resolved so as to permit a consensual plan to proceed to confirmation, there will

then be sufficient time to engage in appropriate discovery and otherwise prepare for a contested

confirmation hearing.

         6.    This motion is made in good faith and not for purposes of delay. Undersigned

counsel has presented this motion to counsel for the Debtors for review and represents to the Court

that said counsel is in agreement with the grounds set forth above and the relief requested in this

motion.



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         WHEREFORE, Creditor moves for entry of an order referring the contested matter relating

to confirmation of the Joint Plan to a judicial settlement conference before another judge of this

Court or, alternatively, to mediation and for such other relief as is appropriate.

Date: May 12, 2023                             Respectfully Submitted,
                                               SHUMAKER, LOOP & KENDRICK, LLP
                                               Post Office Box 49948
                                               Sarasota, Florida 34230-6948
                                               941-364-2747 / 941-364-3999 facsimile
                                               Attorneys for Creditor

                                               By:      /s/ Mark D. Hildreth
                                                        Mark D. Hildreth
                                                        Florida Bar No. 454893
                                                        mhildreth@shumaker.com



                                 CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on May 12, 2023, a true and correct copy of the foregoing

Agreed Motion for Order Referring Contested Matter to Mediation or Judicial Settlement

Conference was filed and served on all parties via the Court’s Electronic Notice for Registrants or

via U.S. Mail on the Service List below.

                                               By:      /s/ Mark D. Hildreth
                                                        Mark D. Hildreth
                                                        Florida Bar No. 454893
                                                        mhildreth@shumaker.com

                                         SERVICE LIST
Parties Served Via First Class Mail:

 Sabrina’s Atlantic Window Cleaning and               Rachel Ann Euler
 Pressure Cleaning, LLC                               3925 Monarch Lane
 2075 N. Powerline Road, Suite 4                      Coconut Creek, FL 33073
 Pompano Beach, FL 33069




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